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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY



    NOEL JONES,

           Plaintiff,                      CIVIL NO. 13-7132(NLH)(AMD)

    v.
                                                       OPINION
    CITY OF VINELAND, GARY
    MOLLIK, JOSE TORRES, POLICE
    CHIEF TIMOTHY CODISPOTI, LOUIS
    PLATANIA, POLICE OFFICER JAMES
    DAY, WILLIAM BONTCUE, H.
    CONNELLY, and JOHN DOES 1-10,

           Defendants.


 APPEARANCES:

 PAUL R. MELLETZ
 BEGELMAN ORLOW & MELLETZ
 411 ROUTE 70 EAST
 SUITE 245
 CHERRY HILL, NJ 08034
      On behalf of Plaintiff

 BRIAN H. LEINHAUSER
 JOHN PATRICK MCAVOY
 MacMAIN LAW GROUP, LLC
 101 LINDENWOOD DRIVE
 SUITE #160
 MALVERN, PA 19355
      On behalf of Defendants

 HILLMAN, District Judge

         This case involves claims of false arrest and excessive

 force by law enforcement officers.        Presently before the Court

 is the motion of Defendants for summary judgment.          For the
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 reasons expressed below, Defendants’ motion will be granted in

 part and denied in part.

                                 BACKGROUND

      Plaintiff, Noel Jones, was arrested by Vineland Police

 Department officers on two occasions: December 1, 2011 (Arrest

 No. 1) and June 23, 2013 (Arrest No. 2).         Arising from these

 events, Plaintiff asserts claims for false arrest, excessive

 force, and assault and battery against the officers, and against

 the City of Vineland for fostering a policy of inappropriate use

 of force by police officers.

      Plaintiff describes the incidents as follows.          On December

 1, 2011, Plaintiff was a passenger in a vehicle that was driving

 around the City of Vineland.       The vehicle was stopped by

 Defendants Officers Gary Mollik and Jose Torres for having a

 defective passenger side brake light.        After the vehicle was

 stopped, Plaintiff and the driver were ordered out of the

 vehicle.   Plaintiff complied with the requests of Mollik and

 Torres to exit the vehicle.      Upon exiting the vehicle, Plaintiff

 was told that he was going to be patted down for safety reasons.

 When inquiring as to why his pockets were being searched, one of

 the officers responded “shut up before I f**k you up.”           Officer

 Mollik swung at Plaintiff with an open hand which caused him to

 flee.   Rather than fleeing the scene, Plaintiff ran in a

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 circular direction in an attempt to alert neighbors as to what

 was unfolding because Plaintiff feared for his safety due to

 Mollik’s unprovoked assault.       Torres then proceeded to tackle

 Plaintiff to the ground.      While Plaintiff’s hands were in front

 of him, Torres choked Plaintiff by utilizing a chokehold

 maneuver.   Plaintiff was unable to breathe.        While on the ground

 in a chokehold, Plaintiff felt pain on the right side of his

 face as he was being struck and kicked by Mollik.          Plaintiff

 maintains that he ultimately lost consciousness.          Plaintiff was

 transported to Vineland South Jersey Regional Medical Facility

 for treatment.    Plaintiff was diagnosed with having a fractured

 orbital bone and later with a fractured jaw.

      On June 23, 2013, Plaintiff arrived in the City of Vineland

 at or around Landis and East Avenue by way of bus.          After

 departing the bus, Plaintiff spoke with other individuals

 standing near the bus stop.      As Plaintiff walked away from the

 conversation, Officers Platania and Day approached him.           The

 officers asked another individual whether Plaintiff had exited a

 bus, to which the individual responded “no.”         Plaintiff was

 placed under arrest and handcuffed.

      Plaintiff claims that he was tackled to the ground by the

 Officers when he refused to open his hands.         Plaintiff further

 contends that he was then assaulted by Platania and Day.

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 Sergeant Bontcue arrived on the scene and Plaintiff contends

 that Bontcue stomped on his hands, arms, and back.          Plaintiff

 was subsequently taken to the Vineland Police station, where

 Plaintiff was held in custody for approximately a day and a

 half.

      Defendants relate a mostly different version of events.            On

 December 1, 2011, Officers Mollik and Torres stopped a vehicle

 in which Plaintiff was a passenger for a taillight violation.

 When the driver of the vehicle opened the glove box to produce

 paperwork for the vehicle’s registration, Mollik and Torres

 observed a small digital scale which they associated, based on

 their experience, with the sale of drugs.         The officers asked

 both the driver and Plaintiff to exit the vehicle.          Mollik

 patted down Plaintiff and checked his pockets for contraband.

 Because Plaintiff protested and refused to allow Mollik to

 search him, Mollik called for backup.

      After the officers called for backup, and while Plaintiff

 was being Mirandized, Plaintiff fled the scene to prevent an

 arrest.   The officers gave pursuit on foot.        Despite the fact

 that the officers advised Plaintiff to stop and that he was

 under arrest, he continued to run.        Ultimately, Mollik tackled

 Plaintiff to the ground.      As Mollik tackled Plaintiff to the

 ground, Mollik hit his knee on the pavement, which required

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 surgery and caused him to miss six months of work. 1

      Once on the ground, Defendants claim that despite Mollik’s

 verbal commands that Plaintiff stop resisting, Plaintiff hid his

 arms under his body and refused to give up his hands so that

 Mollik could place him in handcuffs.        During this struggle, and

 when verbal commands proved unsuccessful, Mollik struck

 Plaintiff about the face three times in order to gain control

 over the actively resisting Plaintiff.        Plaintiff also resisted

 Mollik’s efforts to gain control by pushing himself up off of

 the ground.    Torres then struck Plaintiff about the face three

 more times.    When Plaintiff continued to resist, Mollik utilized

 a rear headlock maneuver in a further attempt to subdue

 Plaintiff.    Plaintiff did a pushup with Mollik on his back at

 which time Mollik wrapped his legs around Plaintiff’s torso.

 Torres took ahold of Plaintiff’s left arm, but was unable to

 handcuff Plaintiff who continued to flail his arms and disregard

 the officers’ instructions that he stop resisting.

      Defendants contend that neither of them used full force in

 attempting to subdue and arrest Plaintiff.         Despite the use of

 physical force, Plaintiff continued to resist until the K-9



 1 According to Officer Mollik, he never regained use and full
 mobility of his right knee and, as a result of this injury, he
 is 25 percent disabled.

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 unit, Officer MacAfee and his partner Hasso, arrived and advised

 Plaintiff that the dog would be released if his resistance

 continued.    Plaintiff then gave up his hands and stated “I give

 up.”

        Once Plaintiff was successfully subdued, he was taken to

 the back of Officer Ramos’ car.       While in the rear of Ramos’

 patrol car, Plaintiff began to move around significantly.

 Ramos shined his flashlight on Plaintiff and observed Plaintiff

 with a clear plastic bag in his hands, which he was attempting

 to stuff under his waistband in the back of his pants.           Ramos

 and Mollik opened the door and confiscated the bag from

 Plaintiff’s hands.     The New Jersey State Police later confirmed

 that the confiscated bag contained cocaine and heroin.

        Plaintiff was subsequently transported to the South Jersey

 Regional Medical Center for medical clearance for injuries to

 his face.    Plaintiff was diagnosed as having a fractured orbital

 bone and nose.    According to the intake patient report,

 Plaintiff denied any loss of consciousness.

        Plaintiff was charged with, inter alia, “resisting arrest,

 specifically by refusing to give his hands and further attempt

 to escape a lawful arrest in violation of N.J.S.A. 2C:29-

 2A(3)[,]” aggravated assault on a police officer in violation of

 N.J.S.A. 2C:12-1b(5)a, as well as possession of various CDS with

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 the intent to distribute.

      Prior to the incident on June 23, 2013, the owners of the

 private property located at 106 W. Landis Avenue, Vineland, New

 Jersey, commonly referred to as “the Vineland Bus Terminal,”

 granted the City of Vineland Police Department power-of-attorney

 over the Property to enforce their no trespassing policy.

 Pursuant to its authority as attorney-in-fact, the City of

 Vineland Police Department’s Street Crimes Unit, which consisted

 of Officers Selby, Day, Connelly, Bergamo and Platania

 (collectively “the Unit”), conducted an investigation of the

 Vineland Bus Terminal on June 23, 2013.        In the months preceding

 the June 23, 2013 incident, the Unit had received information

 from numerous confidential informants as well as concerned

 citizens regarding illegal narcotics activity in and around the

 Vineland Bus Terminal.

      As the Unit conducted the investigation, Officer Selby

 informed Officers Day, Connelly and Platania that a subject who

 each of the Unit members were familiar with from prior police

 contact was loitering around the front of the Bus Terminal

 building.   Day and Platania were aware that this person, an

 admitted heroin user and middleman for the distribution of

 narcotics, routinely brokered transactions between drug dealers

 and drug buyers in exchange for free heroin.         Selby also

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 informed Day, Connelly and Platania that he observed an African

 American male speaking with the middleman before the two of them

 walked together to the southeast corner of the Bus Terminal

 building.   After the middleman walked away from the African

 American male, the African American male walked toward and spoke

 briefly with an unidentified Caucasian female and then a

 Hispanic male who were also on the Property.         It was at this

 time that Officer Platania decided to enter the Property in

 order to speak with the four suspects.

      As Officer Platania approached the Property from the north

 side, Platania noticed that the African American male suspect

 started walking through the east parking lot as soon as the

 suspect spotted Platania’s patrol car.        Platania exited his

 patrol car and approached the African American male suspect as

 Day and Connelly moved toward the other three suspects.           From a

 distance, Platania inquired as to the African American male

 suspect’s name.    The suspect hesitated and stated “Lee Jones.”

      Officer Platania, who was now much closer to the suspect,

 immediately recognized the suspect from previous police contacts

 as the Plaintiff.     Platania knew him to be a drug dealer who

 used the street name “Snowy.”       Plaintiff had been arrested by

 the Unit for numerous narcotics related offenses.          The Unit

 frequently received information from informants that Plaintiff

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 was still selling narcotics in and around the City of Vineland.

      When Officer Platania asked Plaintiff what he was doing on

 the Property, Plaintiff responded that he had just arrived on a

 bus from Bridgeton approximately ten minutes earlier.           Platania

 then informed Plaintiff that the Unit had power-of-attorney on

 the Property and anyone loitering was subject to arrest for

 trespassing.    Plaintiff, who had become visibly nervous and

 began breathing extremely heavily, yelled to other people

 present at the Bus Terminal asking that the subjects advise

 Platania that he just disembarked from a bus.         Platania inquired

 as to whether Plaintiff had a bus pass on him, and Plaintiff

 stated he did not.

      Around this time, Officer Day, who had already taken one of

 the other suspects into custody for possession of heroin and

 drug paraphernalia, approached Platania and Plaintiff.

 Plaintiff encouraged Day to ask a nearby Caucasian man whether

 he witnessed Plaintiff get off of the bus.         When the nearby

 bystander failed to corroborate Plaintiff’s story, Day advised

 Plaintiff that he was under arrest for defiant trespassing and

 immediately took ahold of Plaintiff’s left arm.          Simultaneously,

 Day ordered Plaintiff to put his hands behind his back.

 Plaintiff pulled his arm from Day’s grasp and pushed Day in the

 area of his chest and attempted to run away.

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       Officer Platania instantaneously tackled Plaintiff to the

 ground and placed Plaintiff in a compliance hold.           Day and

 Connelly were then able to gain control of Plaintiff’s arms and

 placed him into handcuffs.       During this time, Plaintiff screamed

 to the nearby bystanders asking them for their names.           Platania

 searched Plaintiff’s person and located a digital scale in his

 front right pocket of his pants.          Platania then advised Police

 Dispatch that he had one subject under arrest for resisting

 arrest at which time several patrol units and supervisors

 arrived on scene.

       Officer Platania stood Plaintiff up.         Despite Platania’s

 instruction that he calm down, Plaintiff became increasingly

 upset at the fact that he was under arrest and refused to

 comply.    Platania noticed that both of Plaintiff’s hands were

 clenched.    Because the inside of Plaintiff’s hands were empty

 when he was tackled to the ground, Platania became suspicious.

 Based on his training and experience, Platania believed

 Plaintiff had retrieved something from is body or clothing, as

 there were no items inside Plaintiff’s pockets.          When Platania

 ordered Plaintiff to open his hands, the then-handcuffed

 Plaintiff began to run away.       Plaintiff took approximately four

 steps before Platania was able to grab ahold of him.           As

 Platania grabbed Plaintiff, they both fell to the ground as a

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 result of Plaintiff’s forward momentum.         When Platania looked at

 Plaintiff’s hands while on the ground, he noticed that Plaintiff

 was rubbing his finger against his palms in order to grind a

 white rock-like substance falling from his hands.           Plaintiff

 resisted Day and Platania’s efforts to pull his fingers back to

 retrieve the any items in his hands.

       Despite the efforts of Officers Day, Platania, and several

 other officers and supervisors, they were unable to open

 Plaintiff’s hands.     Sgt. Bontcue, who had recently arrived on

 the scene, then took his expandable baton and gave two to three

 small strikes to Plaintiff’s fingers which proved successful and

 the Officers were able to retrieve the suspected contraband.

 Day collected the white rock-like substance that fell from

 Plaintiff’s hands while Platania stood Plaintiff up in order to

 better search his person.       Plaintiff was soon after transported

 to headquarters.

       Upon arrival at police headquarters and after a brief pat

 down search, Plaintiff was advised to sit down and was

 handcuffed to the wall.      Plaintiff complained of pain to his

 head and arm at which time Officer Platania contacted Vineland

 Emergency Medical Services (“EMS”) to respond to headquarters to

 treat Plaintiff.     EMS arrived and transported Plaintiff to the

 hospital.    Plaintiff was later released from the hospital and

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 medically cleared for incarceration.

       Plaintiff was subsequently charged with possession of drug

 paraphernalia (digital scale) and hindering (giving false name),

 aggravated assault on police, resisting arrest with force and

 tampering with evidence, and possession of crack cocaine with

 the intent to distribute within 1000 feet of a school.           A

 Municipal Court Clerk approved this warrant and set bail at

 $35,000 at ten percent.      Plaintiff was later transported to

 Cumberland County Jail where he was lodged in lieu of bail.

       On January 26, 2015, Plaintiff entered a negotiated guilty

 plea that encompassed several criminal cases pending against

 him, including the cases arising out of the events of Arrest No.

 1 and Arrest No. 2.      It appears that Plaintiff entered a guilty

 plea to two counts of resisting arrest charge in the third

 degree in violation of N.J.S.A. 2C:29-2A along with two counts

 of possession of CDS.      Pursuant to the negotiated guilty plea,

 Plaintiff agreed to serve two to five years in a New Jersey

 State Correctional Facility for the four counts he pled guilty




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 to 2 in exchange for the dismissal of several other counts. 3

       Plaintiff filed a five-count complaint against the

 Defendant officers and City of Vineland, asserting claims for

 false arrest, false imprisonment, excessive force, conspiracy,

 municipal liability, and assault and battery.          Defendants have

 moved for summary judgment on all of Plaintiff’s claims.

 Defendants argue: (1) Plaintiff’s false arrest and false

 imprisonment claims are barred by the doctrine of collateral

 estoppel and the Heck doctrine; (2) the undisputed facts

 demonstrate that the officers did not use excessive force during

 either of Plaintiff’s two arrests; (3) the doctrine of judicial

 estoppel bars Plaintiff’s excessive force claims; (4) Plaintiff

 has no proof to support his conspiracy claim; (5) the officers

 are otherwise entitled to qualified immunity; (6) Plaintiff has

 not provided any proof to support a municipal liability claim

 against the City of Vineland for failure to train its officers


 2 Plaintiff was initially scheduled to be sentenced by Superior
 Court Judge Malestein on March 2015. Although the sentencing
 date was adjourned on multiple occasions, Plaintiff was most
 recently scheduled to be sentenced on May 4, 2015. Plaintiff
 failed to appear in court on May 4, 2015. As a result, Judge
 Malestein enforced the plea agreement and issued a bench warrant
 for Plaintiff’s failure to appear. It appears that Plaintiff
 began serving his sentence on May 5, 2015.

 3We note here, for reasons that will be apparent infra regarding
 the Heck doctrine, two of the dismissed counts are charges of
 resisting arrest.

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 in the proper use of force; and (7) Plaintiff cannot support his

 state law assault and battery claim arising out of the December

 2011 arrest.    Plaintiff has opposed Defendants’ motion in its

 entirety.

                                 DISCUSSION

        A.   Jurisdiction

        Plaintiff has brought his claims pursuant to 42 U.S.C. §

 1983, as well as New Jersey state law.         This Court has

 jurisdiction over Plaintiff’s federal claims under 28 U.S.C. §

 1331, and supplemental jurisdiction over Plaintiff’s state law

 claims under 28 U.S.C. § 1367.

        B.   Summary Judgment Standard

        Summary judgment is appropriate where the Court is satisfied

 that the materials in the record, including depositions,

 documents, electronically stored information, affidavits or

 declarations, stipulations, admissions, or interrogatory answers,

 demonstrate that there is no genuine issue as to any material fact

 and that the moving party is entitled to a judgment as a matter of

 law.    Celotex Corp. v. Catrett, 477 U.S. 317, 330 (1986); Fed. R.

 Civ. P. 56(a).

        An issue is “genuine” if it is supported by evidence such

 that a reasonable jury could return a verdict in the nonmoving



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 party’s favor.     Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

 248 (1986).    A fact is “material” if, under the governing

 substantive law, a dispute about the fact might affect the

 outcome of the suit.      Id.    In considering a motion for summary

 judgment, a district court may not make credibility

 determinations or engage in any weighing of the evidence;

 instead, the non-moving party's evidence “is to be believed and

 all justifiable inferences are to be drawn in his favor.”

 Marino v. Industrial Crating Co., 358 F.3d 241, 247 (3d Cir.

 2004)(quoting Anderson, 477 U.S. at 255).

       Initially, the moving party has the burden of demonstrating

 the absence of a genuine issue of material fact.          Celotex Corp.

 v. Catrett, 477 U.S. 317, 323 (1986).         Once the moving party has

 met this burden, the nonmoving party must identify, by

 affidavits or otherwise, specific facts showing that there is a

 genuine issue for trial.        Id.   Thus, to withstand a properly

 supported motion for summary judgment, the nonmoving party must

 identify specific facts and affirmative evidence that contradict

 those offered by the moving party.         Anderson, 477 U.S. at 256-

 57.   A party opposing summary judgment must do more than just

 rest upon mere allegations, general denials, or vague

 statements.    Saldana v. Kmart Corp., 260 F.3d 228, 232 (3d Cir.

 2001).

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       C.      Analysis

       For the reasons that follow, the Court finds that

 Defendants are entitled to summary judgment on all of

 Plaintiff’s claims, except for his claims of excessive force and

 assault and battery arising out of the December 1, 2011 arrest.

               1.   Plaintiff’s false arrest/false imprisonment and
                    excessive force claims against the individual
                    officers

       Before addressing the facts of the two incidents,

 Defendants argue that Plaintiff’s claims for false arrest/false

 imprisonment and excessive force are barred by either the

 doctrine of judicial estoppel, the Heck doctrine, or both.            For

 the reasons discussed below, while they are largely moot because

 we find probable cause existed for both arrests, we disagree

 with these arguments.      Moreover, neither of these two doctrines

 bar Plaintiff’s claims of excessive force.

       First, with regard to plaintiff’s false arrest/false

 imprisonment claims, “‘[a]n arrest made without probable cause

 creates a cause of action for false arrest under 42 U.S.C. §

 1983.      In addition, where the police lack probable cause to make

 an arrest, the arrestee has a claim under § 1983 for false

 imprisonment based on a detention pursuant to that arrest.’”

 Ference v. Twp. of Hamilton, 538 F. Supp. 2d 785, 800 (D.N.J.



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 2008) (quoting O'Connor v. City of Philadelphia, 233 F. App’x

 161, 164 (3d Cir. 2007)); see also Montgomery v. De Simone, 159

 F.3d 120, 126 (3d Cir. 1998) (citing Heck v. Humphrey, 512 U.S.

 477, 484 (1994)) (explaining that a claim for false arrest

 covers damages only for the time of detention until the issuance

 of process or arraignment, and not more, and a false

 imprisonment claim relates only to the arrest and the few hours

 the arrestee was detained immediately following his arrest).

       “Probable cause to arrest requires more than mere

 suspicion; however, it does not require that the officer have

 evidence sufficient to prove guilt beyond a reasonable doubt.

 Rather, probable cause to arrest exists when the facts and

 circumstances within the arresting officer's knowledge are

 sufficient in themselves to warrant a reasonable person to

 believe that an offense has been or is being committed by the

 person to be arrested.”      Orsatti v. New Jersey State Police, 71

 F.3d 480, 482-83 (3d Cir. 1995) (citations omitted).           For a §

 1983 claim based on false arrest, the inquiry is “not whether

 the person arrested in fact committed the offense but whether

 the arresting officers had probable cause to believe the person

 arrested had committed the offense.”        Dowling v. City of

 Philadelphia, 855 F.2d 136, 141 (3d Cir. 1988).



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       For the December 1, 2011 arrest, Plaintiff was a passenger

 in a car that was pulled over because of a broken taillight.

 When the driver retrieved his documents from the glove

 compartment, the officers observed a small digital scale, which

 they associated with the sale of drugs.         The events that

 followed, detailed above, resulted in Plaintiff being charged

 for resisting arrest, aggravated assault on a police officer,

 and possession of CDS with intent to distribute.

       For the June 23, 2013 arrest, the special unit performing

 an investigation of the bus terminal, over the course of several

 months, received information from informants and citizens

 regarding illegal narcotic activity.        The officers observed

 Plaintiff speaking with several people, including a known

 middleman who brokered transactions between drug dealers and

 drug buyers in exchange for free heroin.         The officer eventually

 recognized Plaintiff, who was trying to walk away by then,

 because he had been arrested previously by the unit for drug

 related offenses.     When asked for a bus ticket to confirm that

 he was lawfully on the property, Plaintiff could not produce

 one, and one of the bystanders did not corroborate Plaintiff’s

 story at his request.      Plaintiff was arrested for defiant

 trespassing, with the subsequent events leading to other

 charges, including resisting arrest and possession of CDS.

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       These facts compel a finding that probable cause supported

 both the December 1, 2011 and June 23, 2013 arrests.           See

 Atwater v. City of Lago Vista, 532 U.S. 318, 354 (2001) (“If an

 officer has probable cause to believe that an individual has

 committed even a very minor criminal offense in his presence, he

 may, without violating the Fourth Amendment, arrest the

 offender.”).    This finding alone is fatal to Plaintiff’s false

 arrest/false imprisonment claims.

       In addition to the existence of probable cause, Defendants

 also argue that Plaintiff’s false arrest/false imprisonment

 claims cannot be maintained because a finding in his favor on

 those claims would imply the invalidity of his guilty plea to

 resisting arrest.     In Heck v. Humphrey, 512 U.S. 477 (1994), the

 United States Supreme Court provided an example of an

 unsupportable § 1983 action whose successful prosecution would

 necessarily imply that the Plaintiff's criminal conviction was

 wrongful:

       A state Defendant is convicted of and sentenced for the
       crime of resisting arrest, defined as intentionally
       preventing a peace officer from effecting a lawful arrest.
       (This is a common definition of that offense.) He then
       brings a § 1983 action against the arresting officer,
       seeking damages for violation of his Fourth Amendment right
       to be free from unreasonable seizures. In order to prevail
       in this § 1983 action, he would have to negate an element
       of the offense of which he has been convicted. Regardless



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       of the state law concerning res judicata, the § 1983 action
       will not lie.

 Heck v. Humphrey, 512 U.S. 477, 487 n.6 (1994) (internal

 citations omitted).

       While defendants’ invocation of the Heck bar may be proper

 in this case, we are unable to reach that conclusion on this

 record.    It does appear from Defendants’ submissions that

 Plaintiff pled guilty to two counts of violating N.J.S.A. 2C:29-

 2, Resisting arrest; eluding officer, which provides that a

 person is guilty of a third degree offense if he “purposely

 prevents or attempts to prevent a law enforcement officer from

 effecting an arrest” and “[u]ses or threatens to use physical

 force or violence against the law enforcement officer or

 another,” or “[u]ses any other means to create a substantial

 risk of causing physical injury to the public servant or

 another.”

       However, we know nothing else about those convictions and

 the facts underlying them.       We do not know, for example, that

 they relate to Arrest No. 1, Arrest No. 2 or neither of them.

 Moreover, we do know that two additional counts of resisting

 arrest were dismissed as part of the plea agreement.           Again we

 do not know whether those dismissed counts relate to Arrest No.

 1, Arrest No. 2 or neither of them.        Nor have we been provided


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 copies of the charging documents or transcript of a plea

 proceeding to determine what facts Plaintiff admitted to and

 which counts were abandoned with or with accompanying admissions

 by the Plaintiff.

       It is generally true that a Plaintiff who pleads guilty to

 purposely attempting to prevent an officer from arresting him

 cannot later maintain a claim against the officer on the premise

 that the officer had no basis to arrest him.          See Nelson v.

 Jashurek, 109 F.3d 142, 145 (3d Cir. 1997) (“[W]e believe that

 the Supreme Court intended to demonstrate that a civil suit for

 an unreasonable seizure predicated on a false arrest would be

 barred so long as a conviction for resisting the same arrest

 remained unimpaired.”).

       However, here we do not have similar assurances of the same

 symmetry between the convictions obtained and the claims

 asserted in this case for false arrest.         As Plaintiff points

 out, Heck does not bar all civil rights claims that merely

 relate to later convictions; rather, it bars only those claims

 that would necessarily undermine a criminal conviction.            Stated

 differently, the mere fact that Plaintiff pled guilty to some

 counts of resisting arrest as part of a plea deal does not mean

 that Heck necessarily bars all claims related to the dismissed

 counts.

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       For all we know on this record, the State could have

 dismissed the resisting arrest counts arising from Arrest No. 1

 and Arrest No. 2 in exchange for guilty pleas to other conduct.

 Here, defendants have simply failed to provide enough

 information about the guilty pleas for us to fully and

 accurately assess to what extent Heck bars these claims.            See

 e.g., Brenner v. Twp. of Moorestown, No. CIV. 09-219, 2011 WL

 1882394, at *6 (D.N.J. May 17, 2011) (“Because Plaintiff pled

 guilty to obstructing the administration of law - the very same

 offense that Officers Mann, Jr. and Pascal arrested him for - a

 finding that the officers lacked probable cause would

 necessarily invalidate Plaintiff's guilty plea.          Therefore, Heck

 forecloses Plaintiff's false arrest claim.”).          We therefore

 decline to enter summary judgment on the basis of Heck as to

 Plaintiff’s false arrest/false imprisonment claims.

       Nor does the Heck doctrine bar Plaintiff’s excessive force

 claims.    See, e.g., Garrison v. Porch, 376 F. App'x 274, 278 (3d

 Cir. 2010) (finding that Heck did not bar Plaintiff’s excessive

 force claim even though he pleaded guilty to simple assault on a

 police officer, explaining that even though “the fact that

 Garrison was acting in an unruly and threatening manner

 certainly factors into the totality of the circumstances and may

 have justified a greater use of force than would have been

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 reasonable had Garrison been peaceful and cooperative, it

 certainly did not dispense with the reasonableness requirement

 altogether”).     Acknowledging this, Defendants argue instead that

 Plaintiff’s excessive force claims are barred by the doctrine of

 judicial estoppel.

       The doctrine of judicial estoppel, “sometimes called the

 ‘doctrine against the assertion of inconsistent positions,’ is a

 judge-made doctrine that seeks to prevent a litigant from

 asserting a position inconsistent with one that she has

 previously asserted in the same or in a previous proceeding.            It

 is not intended to eliminate all inconsistencies, however slight

 or inadvertent; rather, it is designed to prevent litigants from

 playing ‘fast and loose with the courts.”         Ryan Operations G.P.

 v. Santiam-Midwest Lumber Co., 81 F.3d 355, 358 (3d Cir. 1996)

 (citation omitted).      “The basic principle . . . is that absent

 any good explanation, a party should not be allowed to gain an

 advantage by litigation on one theory, and then seek an

 inconsistent advantage by pursuing an incompatible theory.”            Id.

 (citation omitted).

       Defendants argue that Plaintiff’s excessive force claims

 are barred because he pleaded guilty to N.J.S.A. 2C:29-2, where

 he admitted he “purposely prevent[ed] or attempt[ed] to prevent

 a law enforcement officer from effecting an arrest” and

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 “[u]se[d] . . .     physical force or violence against the law

 enforcement officer.”      By pleading guilty to that offense,

 Defendants contend that he also admitted that the officers did

 not act unlawfully in making the arrest.         Defendants argue that

 Plaintiff cannot now assert the opposite, and inconsistent,

 position that how the officers acted was unlawful.

       Defendants’ argument fails for two reason.         First, the

 judicial estoppel doctrine applied under these circumstances is

 simply a different application of the Heck doctrine.           Heck

 prevents a person who pleaded guilty to a crime from maintaining

 a civil suit that, if successful, would imply the invalidity of

 the conviction.     In other words, under Heck, a person cannot be

 victorious in a civil suit based on a position that is

 inconsistent with that person’s criminal conviction – e.g.,

 pleading guilty to purposefully resisting arrest and then suing

 the arresting officer for unreasonable seizure.          The application

 of the judicial estoppel doctrine in this case would yield the

 same result.    Thus, because the Heck doctrine and the doctrine

 of judicial estoppel are effectively the same under these

 circumstances, Defendants cannot apply the judicial estoppel

 doctrine to make an end-run around Heck, which does not preclude

 an excessive force claim where a plaintiff has pleaded guilty to

 resisting arrest.

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       Second, the statute does not require Plaintiff to have

 admitted that the officers did not act unlawfully in effecting

 his arrest.    N.J.S.A. 2C:29-2 provides in relevant part:

 Resisting arrest; eluding officer

       a. (1) Except as provided in paragraph (3), a person is
       guilty of a disorderly persons offense if he purposely
       prevents or attempts to prevent a law enforcement officer
       from effecting an arrest. (2) Except as provided in
       paragraph (3), a person is guilty of a crime of the fourth
       degree if he, by flight, purposely prevents or attempts to
       prevent a law enforcement officer from effecting an arrest.
       (3) An offense under paragraph (1) or (2) of subsection a.
       is a crime of the third degree if the person:

       (a) Uses or threatens to use physical force or violence
       against the law enforcement officer or another; or

       (b) Uses any other means to create a substantial risk of
       causing physical injury to the public servant or another.

       It is not a defense to a prosecution under this subsection
       that the law enforcement officer was acting unlawfully in
       making the arrest, provided he was acting under color of
       his official authority and provided the law enforcement
       officer announces his intention to arrest prior to the
       resistance.

 N.J.S.A. 2C:29-2.     The only reference to an officer’s unlawful

 conduct is that it “is not a defense to a prosecution under this

 subsection that the law enforcement officer was acting

 unlawfully in making the arrest.”         Thus, Defendants’ argument -

 that when Plaintiff pleaded guilty to N.J.S.A. 2C:29-2a(3) he

 was required to admit that the law enforcement officers did not

 act unlawfully in making the arrest - is unsupported by the


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 plain language of the statute.       The statute actually provides

 that even if a law enforcement officer acted unlawfully in

 effecting the arrest (which is Plaintiff’s claim in this case),

 a person may still be guilty of the resisting arrest offense.

 Contrary to Defendants’ argument, Plaintiff never admitted that

 the Defendant officers acted lawfully in effecting his arrest.

       Absent admissions by the Plaintiff in the criminal

 proceedings that the officers did not use excessive force,

 Plaintiff’s excessive force claims are not precluded under Heck

 or the judicial estoppel doctrine.        Consequently, the Court must

 assess the facts surrounding the two incidents to determine the

 viability of Plaintiff’s excessive force claims.

       As a primary matter, the qualified immunity doctrine

 governs the analysis of Plaintiff’s Fourth Amendment claims

 against the individual Defendants acting in their personal

 capacity.    “Qualified immunity shields government officials from

 civil damages liability unless the official violated a statutory

 or constitutional right that was clearly established at the time

 of the challenged conduct.”       Reichle v. Howards, ––– U.S. ––––,

 ––––, 132 S. Ct. 2088, 2093 (2012).        In order to determine

 whether a government official is entitled to qualified immunity,

 two questions are to be asked: (1) has the plaintiff alleged or

 shown a violation of a constitutional right, and (2) is the

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 right at issue “clearly established” at the time of the

 defendant's alleged misconduct?        Pearson v. Callahan, 555 U.S.

 223, 236 (2009).     Courts are “permitted to exercise their sound

 discretion in deciding which of the two prongs of the qualified

 immunity analysis should be addressed first.”          Id.   It is the

 defendant's burden to establish entitlement to qualified

 immunity.    Kopec v. Tate, 361 F.3d 772 (3d Cir. 2004).

       With regard to Plaintiff's excessive force claim, in

 determining whether excessive force was used, the Fourth

 Amendment's “objective reasonableness” test is applied.            Sharrar

 v. Felsing, 128 F.3d 810, 820–21 (3d Cir. 1997) (citing Graham

 v. Connor, 490 U.S. 386, 396 (1989)).         The objective

 reasonableness test “requires careful attention to the facts and

 circumstances of each particular case, including the severity of

 the crime at issue, whether the suspect poses an immediate

 threat to the safety of the officers or others, and whether he

 is actively resisting arrest or attempting to evade arrest by

 flight.”    Id. (relying on Graham, 490 U.S. at 396; Groman v.

 Township of Manalapan, 47 F.3d 628, 634 (3d Cir. 1995)).            “Other

 relevant factors include the possibility that the persons

 subject to the police action are themselves violent or

 dangerous, the duration of the action, whether the action takes

 place in the context of effecting an arrest, the possibility

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 that the suspect may be armed, and the number of persons with

 whom the police officers must contend at one time.”           Id.

       The Court finds that Defendants are entitled to qualified

 immunity regarding the use of force in Plaintiff’s June 23, 2013

 arrest.    The Court also finds that material disputed facts

 remain regarding the use of force in Plaintiff’s December 1,

 2011 arrest that require resolution of a jury prior to the

 Court’s determination of whether the officers are entitled to

 qualified immunity.

       For the June 23, 2013 arrest, Plaintiff claims that after

 he was handcuffed at the bus terminal he was tackled to the

 ground and his hands were stomped on numerous times.           All of the

 evidence in the record, however, shows that Plaintiff tried to

 run away as he was being handcuffed, which caused Plaintiff and

 the officer to fall to the ground.        The evidence also shows that

 after he was handcuffed, Plaintiff refused to reveal the

 substance in his hands, which he was grinding, causing white

 rocks to fall.     Even though Plaintiff claims that his hand were

 stomped on, all the other testimony reveals that numerous

 attempts to pry open Plaintiff’s hands did not work, and a

 couple baton strikes to Plaintiff’s hands finally caused

 Plaintiff to release the substance, which was crack cocaine.



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 The evidence further shows that Plaintiff suffered no injury to

 his hands or body that required medical treatment.

       All of the Graham factors weigh in favor of a conclusion

 that they acted in an objectively reasonable manner under the

 totality of the circumstances.       Plaintiff’s self-serving

 statements about being tackled and stomped on are not supported

 by the credible evidence in the record and therefore are

 insufficient to create a genuine dispute of material fact.

 Accordingly, the individual officers involved in the June 23,

 2013 arrest – Officers Platania and Day and Sgt. Bontcue – are

 entitled to qualified immunity on Plaintiff’s excessive force

 claim relating to the June 23, 2013 arrest. 4

       The December 1, 2011 arrest of Plaintiff is a different

 story.   In this incident, the officers involved candidly admit

 that they used force in effecting Plaintiff’s arrest.

 Defendants admit that (1) one of the Defendant officers tackled

 Plaintiff to the ground, (2) Officer Mollik struck Plaintiff in

 the face three times, (3) Officer Torres struck Plaintiff in the


 4 Plaintiff has asserted a claim of conspiracy pursuant to 28
 U.S.C. § 1985 against the officers arising out of the June 23,
 2013 arrest. This claim fails for two reasons: (1) Plaintiff
 has not provided any evidence to support a conspiracy claim, and
 (2) because the Court has found that Defendants did not violate
 the Fourth Amendment with regard to this arrest, it cannot be
 found that Defendants conspired to violate Plaintiff’s
 constitutional rights.

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 face three times, (4) Officer Mollik put Plaintiff in a rear

 headlock, and (5) Officer Mollik wrapped his legs around

 Plaintiff.

       Defendants argue that their use of force was reasonable

 under the circumstances to effect the arrest of Plaintiff who

 tried to run away from the scene and was violently resisting

 arrest, to the extent that Officer Mollik was permanently

 injured during the incident.       Defendants also argue that all use

 of force ceased once Plaintiff was subdued by the threat of the

 K-9 unit.    Plaintiff, however, maintains that he did not try to

 flee the scene, but rather ran in a circle to escape Mollik’s

 attempts to strike Plaintiff during his pat-down and to alert

 the neighbors because he feared for his safety.          Plaintiff

 claims that he was kicked in the face, choked, unable to

 breathe, and lost consciousness.          He also suffered from a

 fractured orbital bone and fractured jaw.

       It is clear that the December 1, 2011 incident was

 turbulent.    The Court cannot determine at this time whether the

 officers’ use of force was objectively reasonable because the

 circumstances surrounding the incident are in dispute.           If taken

 as true, Plaintiff’s version of events could support a finding

 that the officers’ actions exceeded the bounds of reasonable use

 of force.    In contrast, if Defendants’ version of events is

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 believed, then it could support the finding that their use of

 force was reasonable.

       The parties’ credibility is the key to determining what

 transpired on December 1, 2011.        A jury – not this Court – must

 assess the situation as related by Plaintiff and Defendants and

 determine what happened on that day.          For example, did Office

 Mollik threaten and attempt to strike the peaceably cooperating

 Plaintiff during the pat-down, which made him fear for his

 safety?    Did Plaintiff run in a circle to alert the neighbors,

 or did he try to flee the scene?          Did Plaintiff continuously

 resist arrest, or was he beaten while passively lying face down

 on the ground?

       Even though the determination of whether an officer acted

 objectively reasonably or made a reasonable mistake of law, and

 is thus entitled to qualified immunity, is a question of law

 that is properly answered by the court, not a jury, the Third

 Circuit has recognized that a judge should not decide the

 objective reasonableness issue until all the material historical

 facts are no longer in dispute.        Curley v. Klem, 499 F.3d 199,

 211, 211 n. 12 (3d Cir.2007).       To do this, “[a] judge may use

 special jury interrogatories, for instance, to permit the jury

 to resolve the disputed facts upon which the court can then

 determine, as a matter of law, the ultimate question of

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 qualified immunity.”      Id.    In other words, “[w]hen the ultimate

 question of the objective reasonableness of an officer's

 behavior involves tightly intertwined issues of fact and law, it

 may be permissible to utilize a jury in an advisory capacity,             .

 . .   but responsibility for answering that ultimate question

 remains with the court.”        Id.

       In this case, the Court must deny summary judgment and

 employ the special interrogatory procedure for the jury to

 resolve the disputed facts regarding Plaintiff’s excessive force

 claim arising out of the December 1, 2011 arrest.           Whether the

 officers acted in an objectively reasonable manner in their use

 of force on Plaintiff – and are therefore entitled to qualified

 immunity 5 - can only be determined by the Court after a jury

 assess the parties’ credibility and resolves the factual

 disputes.     See, e.g., Lamont v. New Jersey, 637 F.3d 177, 184

 (3d Cir. 2011) (“Even where an officer is initially justified in

 using force, he may not continue to use such force after it has

 become evident that the threat justifying the force has

 vanished.”).



 5 The parameters of the constitution’s prohibition of excessive
 force is firmly established. Thus, the only issue for the Court
 to ultimately determine is whether, as a matter of law,
 Defendants acted objectively reasonably with regard to that
 clearly established right.

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       2.      Plaintiff’s Monell claim against the City of Vineland

       Under Monell v. New York City Department of Social

 Services, 436 U.S. 658, 694 (1978), a municipality cannot be

 subjected to liability solely because injuries were inflicted by

 its agents or employees.      Rather, “it is when execution of a

 government's policy or custom, whether made by its lawmakers or

 by those whose edicts or acts may fairly be said to represent

 official policy, inflicts the injury that the government as an

 entity is responsible under § 1983.”        Id.   There must be a

 “direct causal link between a municipal policy or custom and the

 alleged constitutional deprivation” to support municipal

 liability.      City of Canton v. Harris, 489 U.S. 378, 385 (1989).

       In the Third Circuit, there are three situations where acts

 of a government employee may be deemed to be the result of a

 policy or custom of the governmental entity for whom the

 employee works, thereby rendering the entity liable under §

 1983:      (1) where the appropriate officer or entity promulgates a

 generally applicable statement of policy and the subsequent act

 complained of is simply an implementation of that policy; (2)

 where no rule has been announced as policy but federal law has

 been violated by an act of the policymaker itself, and (3) where

 the policymaker has failed to act affirmatively at all, although



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 the need to take some action to control the agents of the

 government is so obvious, and the inadequacy of existing

 practice so likely to result in the violation of constitutional

 rights, that the policymaker can reasonably be said to have been

 deliberately indifferent to the need.         Jiminez v. All Am.

 Rathskeller, Inc., 503 F.3d 247, 249-50 (3d Cir. 2007)

 (citations omitted).

         A government policy or custom can be established in two

 ways.    One way is if a plaintiff shows that a “‘decisionmaker

 possess[ing] final authority to establish municipal policy with

 respect to the action’” issued an official statement of policy.

 Jiminez, 503 F.3d at 250 (quoting Pembaur v. City of Cincinnati,

 475 U.S. 469, 481 (1986)).       Another way is if a plaintiff

 establishes that a course of conduct constitutes a “custom”

 when, though not authorized by law, “‘such practices of state

 officials [are] so permanent and well settled’” that they

 operate as law.     Id. (quoting Monell, 436 U.S. at 690).         Under

 either method, a plaintiff has the burden of showing that a

 government policymaker is responsible by action or acquiescence

 for the policy or custom, and that the government acted, at a

 minimum, with deliberate indifference to the purported

 constitutional deprivation in order to ground liability.            Id.

 (citations omitted).

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       In this case, Plaintiff claims that the City of Vineland

 has a policy of not training its officers in the proper use of

 force.     Other than this conclusory statement, Plaintiff has

 failed to produce any evidence to support his theory.           That

 Plaintiff characterizes the deposition testimony of Chief of

 Police, Timothy Codispoti, regarding various practices used by

 the Vineland Police Department to be evidence of an excessive

 force policy simply because he deems those practices to be

 unlawful, cannot support a Monell claim against the City of

 Vineland.     See, e.g., Persico v. City of Jersey City, 67 F.

 App'x 669, 676 (3d Cir. 2003) (holding that the Plaintiff’s

 Monell claim had no merit because he submitted no evidence other

 than his own assertions of a municipal policy or custom to

 discriminate).     Consequently, the City of Vineland and Chief

 Codispoti are entitled to judgment in their favor on Plaintiff’s

 claim of municipal liability.

       3.     Plaintiff’s state law assault and battery claim

       A person is subject to liability for the common law tort of

 assault if: “(a) he acts intending to cause a harmful or

 offensive contact with the person of the other or a third

 person, or an imminent apprehension of such a contact, and (b)

 the other is thereby put in such imminent apprehension.”            Leang



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 v. Jersey City Bd. of Educ., 969 A.2d 1097, 1117 (N.J. 2009)

 (citation omitted).      The tort of battery rests upon a

 nonconsensual touching.      Id. (citation omitted).      Based on the

 events as described by the parties relating to the December 1,

 2011 arrest, Plaintiff’s assault and battery claim arising out

 of that arrest may proceed. 6


       6The notice provision of the New Jersey Tort Claims Act,
 N.J.S.A. 59:8-3, applies to both intentional and non-intentional
 torts asserted against public employees. Lassoff v. New Jersey,
 414 F. Supp. 2d 483, 490 (D.N.J. 2006) (citing Velez v. City of
 Jersey, 180 N.J. 284, 286, 850 A.2d 1238 (2004)). Moreover,
 under the NJTCA, “A public employee is not liable if he acts in
 good faith in the execution or enforcement of any law. Nothing
 in this section exonerates a public employee from liability for
 false arrest or false imprisonment.” N.J.S.A. 59:3-3. The
 NJTCA strips a public employee of any immunity, however, if that
 employee is found to have engaged in "willful misconduct."
 N.J.S.A. 59:3-14(a).

      It is not clear in this case whether Plaintiff complied
 with the NJTCA. The defense of failure to file notice under the
 Tort Claims Act is an affirmative one which must be pleaded in
 order to avoid surprise, and a defendant may be found to have
 waived the protection thereof by failing to plead it as a
 defense. Hill v. Board of Educ. of Middletown Tp., 443 A.2d
 225, 227-28 (N.J. Super. Ct. App. Div. 1982). Regardless,
 whether Defendants could be immune under the NJTCA cannot be
 determined at this time for the same reasons as Plaintiff’s
 excessive force claim. This is because the same "objective
 reasonableness” standard that is used to determine whether a
 Defendant enjoys qualified immunity from actions brought
 pursuant to 42 U.S.C. § 1983 is used to determine questions of
 good faith arising under N.J.S.A. 59:3-3. See Mantz v. Chain,
 239 F. Supp. 2d 486, 507-08 (D.N.J. 2002) (citing Lear v.
 Township of Piscataway, 566 A.2d 557 (N.J. Super. Ct. App. Div.
 1989)). Furthermore, N.J.S.A. 59:3-14(a) strips a public
 employee of any immunity if that employee is found to have
 engaged in "willful misconduct."   Willful misconduct is "the

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                                 CONCLUSION

       For the reasons expressed above, Plaintiff’s excessive

 force claim and assault and battery claim arising out of the

 December 1, 2011 arrest may proceed against Defendants Mollik

 and Torres.    Summary judgment is granted as to all other claims

 by Plaintiff against the other Defendants.

       An Order will be entered.



 Date:    April 1, 2016                      s/ Noel L. Hillman
 At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.




 commission of a forbidden act with actual (not imputed)
 knowledge that the act is forbidden . . . . [I]t requires much
 more than an absence of good faith and much more than
 negligence." PBA Local No. 38 v. Woodbridge Police Dep't, 832
 F. Supp. 808, 830 (D.N.J. 1993) (internal quotations omitted)).
 Because there exists a genuine issue of material fact regarding
 whether Defendants engaged in willful misconduct, the Court
 cannot determine as a matter of law whether the NJTCA would
 shield them from liability for their conduct during the December
 1, 2011 incident.


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